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      I hereby certify that the annexed
    instrument is a true and correct copy
      of the original on file in my office.

ATTEST:
MARK B. BUSBY
Clerk, U.S. District Court
Northern District of California
            Hilary Jackson
    by:
            6/16/22
               Deputy Clerk
                                              6/16/2022
    Date:
                                                                    Hilary Jackson
                              Case 4:20-cv-01348-YGR Document 101 Filed 06/16/22 Page 2 of 2

   PLAINTIFF:        Californians for Alternative to Toxics                                                COURT CASE NO.:

DEFENDANT:           Kernen Construction Co., et al.,                                              4:20-cv-01348-YGR

NAMES AND ADDRESSES OF ADDITIONAL JUDGMENT CREDITORS:

13. Judgment creditor (name and address):                             14. Judgment creditor (name and address):




15.             Continued on Attachment 15.

INFORMATION ON ADDITIONAL JUDGMENT DEBTORS:
16.                          Name and last known address              17.                  Name and last known address
      Bedrock Investments, LLC                                              Kurt Kernen
      P. O. Box 384                                                         801 Liscom Hill Road
      Blue Lake, CA 95525                                                   McKinleyville, CA 95519

      Driver’s license no. [last 4 digits] and state:                       Driver’s license no. [last 4 digits] and state:
                                                            Unknown                                                           Unknown
      Social security no. [last 4 digits]:                  Unknown         Social security no. [last 4 digits]: 6818         Unknown

      Summons was personally served at or mailed to (address):              Summons was personally served at or mailed to (address):
      2350 Glendale Dr., McKinleyvill,                                      2350 Glendale Dr., McKinleyville,
      CA 95519                                                              CA 95519




18.                          Name and last known address              19.                  Name and last known address
      Norman Scott Farley
      P.O. Box 1163
      Blue Lake, CA 95525

      Driver’s license no. [last 4 digits] and state:                       Driver’s license no. [last 4 digits] and state:
                                                            Unknown                                                           Unknown
      Social security no. [last 4 digits]: 3109             Unknown         Social security no. [last 4 digits]:              Unknown

      Summons was personally served at or mailed to (address):              Summons was personally served at or mailed to (address):
      2350 Glendale Dr., McKinleyville
      CA 95519




20.             Continued on Attachment 20.




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                                                             AND SMALL CLAIMS                            www.ceb.com
